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UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF lLLlNOlS, EASTERN DIVISION

THE BOlLING POINT, INC. d/b/a/
PEPPERCORNS KlTCHEN,

Plaintift`,
Case No.
v.

NAN LUO aka “JUDY LUO” and FANYUAN Jur_'y Trial Demanded
INVESTMENT MANAGEMENT, LLC. d/b/a
PEPPERCORNS KITCHEN,

 

Defendants.

 

DECLARATION OF WEI XIONG

Pursuant to 28 U.S.C. §l746, I, .Wei Xiong, under penalty of perjury, depose and
deelare: l

l. l am one of the original and current shareholders ot` The Boling Point, lnc. l
am also the head chef at Peppercoms Kitchen. l have personal knowledge ot` the facts
contained herein.

2. Throughout 2015, I developed the reelpes and menu items t`or The Boiling
Point Inc.'s Peppereorns Kitehen.

3. In September of 2015, I worked with Lili Ma to translate the menu for
Peppereorns Kitehen into `English.

4. When l discovered that Nan Luo opened a copycat restaurant in West
Lat`avette, lndiana, l wanted to sue l\/ls. Luo and l expressly objected to Ms. Luo’s opening

of the restaurant before and during the shareholders meeting in June of 2016.

l declare under penalty ot` perjury and upon personal knowledge that the foregoing is

true and eorrect.

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